           Case 3:15-cr-00950-CAB                      Document 140                  Filed 01/13/17           PageID.358             Page 1 of 8
     %,A0 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
               Sheet 1
                                                                                                                                       JAN 1 6 2017
                                               United States District Court                                                  CLERK US DISTRICT COURT
                                                                                                                          SOUTHERN DISTRICT OF CALIFORNIA
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                        BY                YM7DEPUTY
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         V.                                          (For Offenses Committed On or After November 1,1987)

                          JOEL ACEDO-OJEDA (3)                                       Case Number: 15CR0950-BEN
                                                                                     GRETCHEN C. VON HELMS, VICTOR SHERMAN
                                                                                     Defendant’s Attorney
     REGISTRATION NO. 65780112


    □
    THE DEFENDANT:
    Ixl pleaded guilty to count(s) lsss OF THE THIRD SUPERSEDING INDICTMENT.
     1 I was found guilty on count(s)_________________________________________________________
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                           Nature of Offense                                                                            Number(s)
18 USC 1956(h)                        CONSPIRACY TO LAUNDER MONETARY INSTRUMENTS                                                                lsss




        The defendant is sentenced as provided in pages 2 through                8          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  j—| The defendant has been found not guilty on count(s)
 gj Count(s)
              UNDERLYING INDICTMENTS                                          is Q are [x] dismissed on the motion of the United States.
 IXl Assessment: $100.00 forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per quarter
     during the period of incarceration.


 l~l Fine waived                                    |X1 Forfeiture pursuant to order filed           DECEMBER 12,2016 , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                DECEMBER 1/, 2016
                                                                                Date of Irrmdsitio/of Sentence


                                                                             ^HON. ROGER T. B
                                                                              UNITED CTXTESDISTRICT JUDGE



                                                                                                                                               15CR0950-BEN
       Case 3:15-cr-00950-CAB                    Document 140              Filed 01/13/17      PageID.359          Page 2 of 8
AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
   _______ Sheet 2 — Imprisonment__________________
                                                                                                                   2   of        8
                                                                                                 Judgment — Page
 DEFENDANT: JOEL ACEDO-OJEDA (3)
 CASE NUMBER: 15CR0950-BEN
                                                           IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of ■
          ONE HUNDRED AND THIRTY-FIVE (135) MONTHS.



      □ Sentence imposed pursuant to Title 8 USC Section 1326(b).
      IXl The court makes the following recommendations to the Bureau of Prisons:
          DEFENDANT BE INCARCERATED WITHIN THE WESTERN REGION OF THE UNITED STATES.




      | | The defendant is remanded to the custody of the United States Marshal.

      [~| The defendant shall surrender to the United States Marshal for this district:

            □ at                                  □a.m.      □p.m.         on __________
               as notified by the United States Marshal.

      |~| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           I I before
           1 | as notified by the United States Marshal.
           I I as notified by the Probation or Pretrial Services Office.


                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                     to

 at                                                , with a certified copy of this judgment.


                                                                                               UNITED STATES MARSHAL

                                                                      By
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                       15CR0950-BEN
             Case 3:15-cr-00950-CAB                     Document 140              Filed 01/13/17            PageID.360             Page 3 of 8
AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 3 — Supervised Release
                                                                                                                   Judgment—Page       3      of       8
DEFENDANT: JOEL ACEDO-OJEDA (3)
CASE NUMBER: 15CR0950-BEN
                                                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


             The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
    the custody of the Bureau of Prisons.
    The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
    The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
    substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
    thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
    the term of supervision, unless otherwise ordered by court.
|     |    The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
           future substance abuse. (Check, if applicable.)
|Xl        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
|\7|       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
           Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
I     I    The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
           by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
           was convicted of a qualifying offense. (Check if applicable.)
1     I    The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

              If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
    or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
    forth in this judgment.
             The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
    any special conditions imposed.


                                            STANDARD CONDITIONS OF SUPERVISION
      1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)    the defendant shall support his or her dependents and meet other family responsibilities;
      5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;
      6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
            controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
             a felony, unless granted permission to do so by the probation officer;
     10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
     11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and
     13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant’s compliance with such notification requirement.
                                                                                                                                            15CR0950-BEN
           Case 3:15-cr-00950-CAB                     Document 140          Filed 01/13/17          PageID.361           Page 4 of 8
      AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
      __________ Sheet 4 — Special Conditions____________
                                                                                                         Judgment—Page     4     of      8
       DEFENDANT: JOEL ACEDO-OJEDA (3)
       CASE NUMBER: 15CR0950-BEN




                                            SPECIAL CONDITIONS OF SUPERVISION
—I Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
—I a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
   a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant tc
   this condition.

><] If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
Z] Not transport, harbor, or assist undocumented aliens.
^ Not associate with undocumented aliens or alien smugglers.
^ Not reenter the United States illegally.
Z] Not enter the Republic of Mexico without written permission of the Court or probation officer.
^ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
Z] Not possess any narcotic drug or controlled substance without a lawful medical prescription.
^ Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
□ Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
   psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
   and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
   information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
   amount to be determined by the probation officer, based on the defendant's ability to pay.
Z1 Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
   officer, if directed.
   Provide complete disclosure of personal and business financial records to the probation officer as requested.
   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
   probation officer.
Z] Seek and maintain full time employment and/or schooling or a combination of both.
□ Resolve all outstanding warrants within                days.
Z] Complete        hours of community service in a program approved by the probation officer within
^ Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
Z] Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
   probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
   contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                      15CR0950-BEF
          Case 3:15-cr-00950-CAB                     Document 140      Filed 01/13/17           PageID.362          Page 5 of 8



AO 245S      Judgment in Criminal Case
             Sheet 5 — Criminal Monetary Penalties
                                                                                                                      5       of   8
                                                                                                  Judgment — Page
 DEFENDANT: JOEL ACEDO-OJEDA (3)
 CASE NUMBER: 15CR0950-BEN                                                                  □
                                                                    FINE
        The defendant shall pay a fine in the amount of             $20,000.00          unto the United States of America.




          This sum shall be paid ___ immediately.
                                  * as follows:

          Forthwith or through the Clerk, U. S. District Court. Payment of fine shall be forthwith. During any period of
          incarceration the defendant shall pay fine through the Inmate Financial Responsibility Program at the rate of 50%
          of the defendant’s income, or $25.00 per quarter, whichever is greater. The defendant shall pay the fine during his
          supervised release at the rate of $250 per month. These payment schedules do not foreclose the United States from
          exercising all legal actions, remedies, and process available to it to collect the fine judgment at any time.

          Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney’s Office
          of any change in the defendant’s mailing or residence address, no later than thirty (30) days after the change
          occurs.                                                                                                            □
          The Court has determined that the defendant does            have the ability to pay interest. It is ordered that:

    *      The interest requirement is waived.


           The interest is modified as follows:




                                                                                                 15CR0950-BEN
 Case 3:15-cr-00950-CAB      Document 140    Filed 01/13/17   PageID.363        Page 6 of 8


                                                                           HQ
                                                                                   ttO.<3 Kin
                                                                         jta       $30«

                                                                                   l,.«va SSid


 1                                                                        DEC 12 2016
 2
                                                                SOI rn iri' !■ ^ DIS1'  1 Ct:>UHT
                                                                SOU 1 HhHfc i;|S1 RICT OF CALIFORNIA
 3                                                             *■——__________                    DEPUTY

 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA,                         Case No. 15cr0950-BEN
11                     Plaintiff,                    ORDER OF CRIMINAL
                                                     FORFEITURE
12        v.
13 JOEL ACEDO-OJEDA (3),
14                     Defendant.
15
16        WHEREAS, in the Third Superseding Indictment in this case, the United States
17 alleged forfeiture of any property, real or personal, involved in Count 1 and of any
18 property traceable to such property including, but not limited to, a $45,000,000 money
19 judgment in favor of the United States against Defendant, JOEL ACEDO-OJEDA (3)
20 (“Defendant”), pursuant to 18 U.S.C. § 982(a)(1) and 21 U.S.C. § 853, in violation of
21 18 U.S.C. § 1956 and 21 U.S.C. §§ 952, 960, and 963, as charged in the Third
22 Superseding Indictment; and
23        WHEREAS, on or about June 23, 2016, the Defendant entered a guilty plea to
24 Count 1 of the Third Superseding Indictment charging violation of 18 U.S.C. § 1956,
25 conspiracy to launder monetary instruments, which plea included a consent to the
26 forfeiture allegations of the Third Superseding Indictment and an agreement to entry of a
27 $20,000,000.00 judgment against the Defendant in favor of the United States, before
28 Magistrate Judge Bernard G. Skomal; and
     Case 3:15-cr-00950-CAB   Document 140     Filed 01/13/17   PageID.364    Page 7 of 8


       //
 1
 2          WHEREAS, on August 1, 2016, this Court accepted the guilty plea of

 3 Defendant; and
 4      WHEREAS, by virtue of the admission of the Defendant set out in the Plea

 5 Agreement and Forfeiture Addendum, the Court hereby has determined that
 6 $20,000,000.00 (U.S. dollars) represents the moneys subject to forfeiture to the
 7 United States as property involved in the offense, pursuant to 18 U.S.C. § 982(a)(1), as
 8 charged in the Third Superseding Indictment; and
 9          WHEREAS, by virtue of said guilty plea and the Court’s findings, the
10 United States is now entitled to an Order of Forfeiture and a judgment in its favor against
11 the Defendant in the amount of $20,000,000.00, pursuant to 18 U.S.C. § 982(a)(1) and
12 Rule 32.2 of the Federal Rules of Criminal Forfeiture; and
13      WHEREAS, by virtue of the facts set forth in the Plea Agreement and Forfeiture
14 Addendum, the United States has established the requisite nexus between the
15 $20,000,000.00 judgment and the offense; and
16          WHEREAS, Rule 32.2(c)(1) provides that “no ancillary proceeding is required to
17 the extent that the forfeiture consists of a money judgment;” and
18       WHEREAS, the United States, having submitted the Order herein to the Defendant
19 through his attorney of record, to review, and no objections having been received;
20          Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
21       1.    Defendant JOEL ACEDO-OJEDA shall forfeit to the United States the sum
22 of $20,000,000.00 pursuant to 18 U.S.C. § 982(a)(1); and
23          2.    Judgment shall be entered in favor of the United States against Defendant
24 JOEL ACEDO-OJEDA in the amount of $20,000,000.00; and
25           3.   This Court shall retain jurisdiction in the case for the purpose of enforcing
26 the order of forfeiture and collecting and enforcing the judgment; and
27
28
                                                 2
                                                                                     15cr0950
  Case 3:15-cr-00950-CAB      Document 140      Filed 01/13/17     PageID.365   Page 8 of 8



 1         4.    Pursuant to Rule 32.2(b)(3), this Order of Forfeiture shall be made final as to
 2 the Defendant at the time of sentencing and is part of the sentence and included in the
 3 judgment; and
 4         5.    Pursuant to Rule 32.2(b)(3), the United States may, at any time, conduct
 5 discovery to identify, locate, or dispose of directly forfeitable assets and substitute assets
 6 against which this Order of Forfeiture may be enforced; and
 7       6.    The United States may, at any time, move pursuant to Rule 32.2(e) to amend
 8 this Order of Forfeiture to substitute property having a value not to exceed
 9 $20,000,000.00 to satisfy the money judgment in whole or in part; and
10       7.    The United States may take any and all actions available to it to collect and
11 enforce the judgment.
12         ms SO ORDERED.
13         DATED/” /
14
15                                                                ;z
                                                                 »urt
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                  3
                                                                                       15cr0950
